                            Case 3:21-cr-00004-UNA Document 2 Filed 03/02/21 Page 1 of 1

V£. Department of Justice
United States Attorney




                                                                                                                      FILED IN OPEN COURT
                                    IN THE UNITED STATES DISTRICT COURT                                                 U.S.D.C.-Atlanta

                                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                                                                                                              - 2 2021
                                                                 Division: Atlanta
                                                                                                                                  PEN, Clerk
                                                                 (USAO: 2021R00155)                                               \Deputy Clerk

                                DEFENDANT INFORMATION RELATT^E TO A CRIMINAL ACTION


COUNTS NAME:                                                             DISTRICT COURT NO.

                                                                         MAGISTRATE CASE NO.

X Indictment                                       Infonnation                               Magisbrate's Complaint
DATE: March 2,2021                                 DATE:                                     DATE:

                             UNTTED STATES OF AMERICA.                  INDICTMENT
                                        vs.                             Prior Case Number:
        ROBERT PURBECK, A/K/A LIRELOGK/ A/K/A STUD3MASTER,              Date FUed:
                    A/K/A STUDMASTER1

GREATER OFFENSE CHARGED: X Felony Misdemeanor


                                                           Defendant Information:
Is the defendant in custody? Yes X No
WiU the defendant be arrested pending outcome of this proceeding? X Yes No
Is die defendant a fugitive? Yes X No
Has the defendant been released on bond? Yes X No


Will the defendant require an interpreter? Yes X No




District Judge:


Attorney: Michael Herskowitz
Defense Attorney:
